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IN THE UNITED sTATEs DISTRICT coURT 'F"`l€-:-:-J Jr' _V'Q~/ la
FoR THE WESTERN DIsTRIcT oF TENNESSEE
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JAMES M. cRUNK, .\}

Plaintiff,
v. No. 01-2573 Ml/V

TAG CHONG (“TEDDY”) KIM, and
ELVIS ROBERT GATES,

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Defendants.

 

ORDER SETTING DISCOVERY AND TRIAL SCHEDULE

 

The Court held a telephone conference in this case on
Friday, June 24, 2005. Plaintiff was represented by Steve
Greenberg, Esq. Defendant Elvis Robert Gates was represented by
Earle J. Schwartz, Esq. Pursuant to the discussion at the
conference, the Court hereby sets the following schedule in this
case:

Plaintiff shall file an amended complaint by July 25, 2005.
Plaintiff stated through counsel during the conference that he
will no longer pursue claims under the Racketeer lnfluenced and
Corrupt Organizations Act, 18 U.S.C. § l96l et seq.

Defendant Elvis Robert Gates shall file any third party
complaint by August 25, 2005.

Plaintiff shall provide any relevant expert disclosures by

December 19, 2005. Defendant shall provide any relevant expert

disclosures by January 19c 2006.

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All discovery shall be completed by February 24, 2006.
Any dispositive motions shall be filed by March 3c 2006.
The Court hereby sets the following trial schedule:

Jury Trial: Mondav, May 15, 2006, at 9:30 a.m.

Pretrial Conference: Tuesdav, Mav 9, 2006, at 8:45 a.m.l

Pretrial Order: Tuesdav, Mav 2, 2006, by 4:30 p.m.

ENTERED this ,Z`\ day er Jun@, 2005.

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J P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

1 The parties may appear by telephone at the pretrial
conference.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 110 in
case 2:01-CV-02573 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Mark .1. Grai

THE WINCHESTER LAW FIRM
6060 Poplar Avenue

Ste. 295

1\/1emphis7 TN 38119

Alvin E Entin

ENTIN DELLA FERA & GREENBERG. P.A.
110 Southeast SiXth St.

Fort Lauderdale7 FL 33301

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

